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9                           UNITED STATES DISTRICT COURT
10                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
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     SALEM ROSALES, individually and on         CASE NO.: &9 21-3768-MWF JC[
12
     behalf of all others similarly situated,   USDC Judge: Michael W. Fitzgerald
13
14                                              ORDER GRANTING VOLUNTARY
                           Plaintiff,
15                                              DISMISSAL WITH PREJUDICE,
                                                PURSUANT TO FEDERAL RULE OF
16                                              CIVIL PROCEDURE 41(a)(1)
           v.
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18                                              Complaint filed:   May 04, 2021
     LUXURY OPTICAL HOLDINGS CO.
19
     d/b/a MORGENTHAL FREDERICS, a
20   Delaware corporation; and DOES 1 to 10,
21   inclusive,

22
23                     Defendants.

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      ORDER GRANTING VOLUNTARY DISMISSAL WITH PREJUDICE, PURSUANT
               TO FEDERAL RULE OF CIVIL PROCEDURE 41(a)(1)
                      CASE NO. 2:21-cv-03768-MWF-JC
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1    TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
2          On November 8, 2021, Plaintiff filed a notice of voluntary dismissal with prejudice,
3    pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i) [Dkt. 20].
4          Upon due consideration, good cause appearing, the Court DISMISSES this action
5    with prejudice as to Plaintiff’s individual claims. Each party must bear its own costs and
6    attorneys’ fees.    The Clerk of Court shall terminate all pending motions and
7    deadlines, and close the case.
8
9          IT IS SO ORDERED.
10
11          November 12 2021
     DATED: ___________,                           ________ __________________
                                           By: ________________________________
                                                   CHAEL W. FITZ
                                                MICHAEL            Z GERAL
                                                                   ZGERALD  LD
12                                              United States District Judge
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      ORDER GRANTING VOLUNTARY DISMISSAL WITH PREJUDICE, PURSUANT
               TO FEDERAL RULE OF CIVIL PROCEDURE 41(a)(1)
                      CASE NO. 2:21-cv-03768-MWF-JC
